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AO 91 (Rev. 11/1!) Criminal Complaint


                                    United States District Court
                                                                                                              CLERK. U S DiSTfilCT COURT
                                                                 for the                                               PICHMOKiJ VA

                                                     Eastern District of Virginia

                  United States of America
                               V.


              VIOREL ANTOANEL NABOlU
                                                                           Case No. 2'
                  a.k.a. "LUIGI LATORZA"



                          Defendant(s)


                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 28, 2018 - March 3, 2018 in the county of                          Henrico               in the
     Eastern          District of              Virginia        ,the defendant(s) violated:

            Code Section                                                     Offense Description
18U.S.C.§1344                                    Conspiracy to Commit Bank Fraud (February 23,2018 - March 3, 2018):
                                                 1 count



18U.S.C.§1028A                                   Aggravated Identity Theft(March 3, 2018): 2 counts




         This criminal complaint is based on these facts:
See attached affidavit




         sf Continued on the attached sheet.


                                                                                             Complainant's signature

                                                                                      Jeremy D'Errico, Special Agent
                                                                                             Printed name and title


Sworn to before me and signed in my presence.

                                                                                      DavidJ.Nowal, ,
                 05/09/2018
Date:
                                                                                      yniH States yamstrate Judge
                                                                                            Judge's signature

City and state:                         Richmond, Virginia
                                                                                             Printed name and title
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, Jeremy A. D'Errico, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND


       1.      I, your Affiant, Jeremy A. D'Errico, am a special agent("SA") with the FBI and,

as such, I am charged with enforcing all federal laws in all jurisdictions of the United States, its

territories and possessions. I have been employed as an FBI SA since October 2014. Prior to

being employed as an FBI SA, I was an FBI Computer Scientist from 2012 to 2014. As an FBI

SAI have received extensive training in the investigation of violations offederal and state law. I

am currently assigned to the Richmond Division ofthe FBI where I investigate criminal violations

relating to bank fraud, identity fraud, and access device fraud. Based upon my training and

experience, I am familiar with the means by which individuals obtain, reproduce, and use access

devices, namely debit and/or credit cards in support of various criminal offenses, and I have

participated in the execution of numerous searches and seizures pursuant to warrants authorizing

the seizure of evidence related to the bank fraud, identity fraud and access device fraud.

       2.      I am familiar with the facts and circumstances of the investigation through my

personal participation; from discussions with other agents of the FBI and other law enforcement

agencies; from my discussions with witnesses involved in the investigation; and from my review

of records and reports relating to the investigation. Unless otherwise noted, wherever in this

affidavit I assert that a statement was made, the information was provided by another FBI agent,

law enforcement officer or witness who may have had either direct or hearsay knowledge of that

statement and to whom I or others have spoken or whose reports I have read and reviewed. The
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facts in this affidavit come from my personal observations, my training and experience, and

information obtained from other agents and witnesses.

         3.     I am aware that Title 18 ofthe United States Code § 1344 makes it a crime for any

party to knowingly execute a scheme to obtain any of the moneys under the custody or control of

a financial institution by means of fraudulent pretenses. Furthermore, I am aware that Title 18 of

the United States code § 1028A makes it a crime for any party to, during and in relation to bank

fraud, knowing possess or use, without lawful authority, a means of identification of another

person


         4.     Having so said, I make this affidavit in support of a criminal complaint charging

the following individuals:

              a. VIOREL NABOIU,also known as"LUIGI LATORZA,"date of birth ^■l974,
                with Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. § 1344, and
                Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A;

              b. FLORIN BERSANU also known as "KIM OLSEN," date of birth [^■l986.
                Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. § 1344, and
                Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A.

         5.     This affidavit is being submitted for the limited purpose to show merely that there

is sufficient probable cause for the requested arrest warrants and does not set forth all of my

knowledge about this investigation.     I have set forth facts I believe are necessary to charge

NABOIU and BERSANU with the criminal conduct set forth herein.
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                                             FACTS


       A.      Conspiracy to Commit Bank Fraud


       6.      On or about March 3, 2018,1 received a report from Henrico Federal Credit Union

(HFCU) that an ATM skimming device was installed on the HFCU automated teller machine

(ATM)located at 9401 West Broad Street, Henrico, Virginia.

       7.      The Henrico Federal Credit Union is a "financial institution" as that term is defined

inlSU.S.C. §20.

       8.      I responded to the location and observed a video recording device affixed to the top

ofthe ATM. The recording device consisted ofa metal piece ofmolding,in similar form and color

of the ATM, and affixed to the top of the ATM using double-sided foam tape. I removed the

recording device and observed a camera, circuit board, batteries, wires, and a microSD storage

device attached to the underside of the recording device. The bottom side ofthe recording device

had a pinhole positioned to allow the concealed camera to observe the ATM's keypad.

       9.      Skimming devices are used to fraudulently record the information stored on the

magnetic stripe from payment cards, which includes card number, cardholder name, and other

information necessary for financial transactions. The skimming devices are concealed deep inside

the ATM card reader or placed in concealment devices on the external of the card reader. As

victims used their payment cards at the ATM, the data contained on the magnetic stripe of the

payment card is secretly recorded onto the skimming device. Once this information is captured, it

is trivial to transfer the information on the card's magnetic stripe to another payment card that is

in the possession of an unauthorized individual with the use of a magnetic card encoder. In the

case ofthe HFCU ATM,the skimming device was a flat piece of metal that was inserted deep into

the card reader.
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       10.     In order to use the payment card as a debit card, the personal identification number

(PIN)associated with the card must be obtained. These PIN numbers are compromised using two

basic strategies. The first approach, which involves a greater degree of effort and sophistication,

is to compromise the PIN keypad itself using one or other technology that captures the victim's

PIN as she enters it into the ATM's keypad. The second approach involves the perpetrator(s)

placing a video recording device somewhere near the ATM with the camera focused on the keypad.

The video recording device captures video of the victim typing their PIN on the keypad. In the

case ofthe HFCU ATM,the perpetrators used the second approach,concealing a camera in a piece

ofplastic molding that they added to the top ofthe ATM.

       11.     I removed the microSD storage device from the video recording device and

reviewed the files contained on the storage device. Several files contained video and audio

recordings believed to be from the HFCU ATM and showed customers approaching the ATM,

inserting their card into the ATM,and all keypresses made on the ATM keypad by the customer,

including the customer's PINs.

       12.     One particular video on the microSD storage device from the video recording

device showed what appeared to be a deep-insert skimming device being removed from the ATM

at approximately March 3; 2018, at 9:55 a.m. The video captured the hands of an individual

placing a flat, thin tool into the ATM card reader and pulling out a deep-insert skimming device.

In order to disguise the activity, the individual removed a payment card from his wallet and walked

away from the ATM with the payment card in hand. I reviewed the HFCU ATM video for the

same time was reviewed, which captured the face and body of one ofthe subjects conducting the

activity at the HFCU ATM.
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       13.     Using various investigative techniques, the FBI believed that the subjects possibly

resided at the Park West End apartments, located at 5300 Glenside Drive, Henrico, Virginia. On

March 8, 2018, at approximately 12:50 p.m., an FBI surveillance team established surveillance

near 5300 Glenside Drive, Building 18, Henrico, Virginia. The FBI observed two white males,

both similar in appearance to the two subjects identified in HFCU ATM video installing the

skimming device,leave a building located at 5300 Glenside Drive, Building 18, Henrico, Virginia,

and enter 2017 Ford Edge bearing New York license plate HSJ9730("VEHICLE 1").

       14.     Information obtained from the leasing office at the Park West End Apartment

Complex indicates that Apartment 1808 is leased to a "Luigi Latorza." A copy of the Italian

passport that"Latorza" provided to the leasing office contained a photograph that appeared similar

one ofthe subjects identified in the HFCU ATM video installing the skimming device.

       15.     A review of Department of Motor Vehicles records reveals that VEHICLE 1 is

registered to "PV Holdings Corp" and was described as a 2017 Ford "Edg," [5/c] white in color,

VIN 2FMPK4K9XHBC13295. PV Holdings Corporation is known to register vehicles used by

Budget Rent A Car(Budget).

       16.     Information provided by Budget indicated that the VEHICLE was rented for the

period ofFebruary 28,2018,through March 28,2018,to Viorel Naboiu, who provided a Romanian

driver's license, a Romanian address and U.S. telephone number 714-798-1891.

       17.     A record check conducted for the telephone number 714-798-1891 indicated that

the telephone number is associated with the name "Luigi Latorza."

       18.     A check of records held by U.S. Immigration and Customs Enforcement (ICE)

indicated that on or about June 12, 2015, Viorel Naboiu was detained by ICE. The booking photo

of Viorel Naboiu appears to be the same subject as observed at the HFCU ATM surveillance video.
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       19.     After reviewing photographs from the ICE booking photograph and the Italian

passport photograph, I believe that "Luigi Latorza" is an alias for Viorel Naboiu.

       20.     On March 15, 2018, at approximately 3:40 p.m., the FBI established surveillance

near 5300 Glenside Drive, Building 18, Henrico, Virginia. Surveillance team members observed

one white male, similar in appearance to one of the subjects identified in HFCU ATM video

installing the skimming device, leave a building located at 5300 Glenside Drive, Building 18,

Henrico, Virginia, and enter a second vehicle, described as a 2017 Mazda 6, red in color, Florida

license plate CIMB08("VEHICLE 2").

       21.     A review of Department of Motor Vehicles records reveals that VEHICLE 2 is

registered to"PV Holdings Corp" and was rented by Budget on March 1,2018,to Florin Bersanu.

Bersanu provided Budget the address of 533 Glenside Drive, Richmond, Virginia, and telephone

number(804)401-2325.

       22.     During the course of the investigation, the FBI was contacted by a fi^aud

investigator at Branch Banking and Trust("BB&T")regarding a skimming event that occurred on

February 28,2018, at the BB&T branch located at 3214 Skipwith Road, Henrico, Virginia. On or

about February 28, 2018, at 6:30 a.m., a skimming device was installed at the BB&T Skipwith

Branch ATM and later removed at approximately 9:40 p.m. the same day. I reviewed the ATM

surveillance camera recordings for the installation and removal timefi-ames and observed two

males that appear to be Bersanu and Naboiu. Approximately 103 unique debit card numbers were

transacted at the ATM between the installation and removal times.


       23.     BB&T is a "financial institution" as that term is defined in 18 U.S.C. § 20.

       24.     Approximately 63 of the debit card numbers transacted at the Skipwith branch

ATM between the installation and removal of the skimming device were used to conduct
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fraudulent ATM withdrawals at BB&T branch ATMs in the Richmond, Virginia, area. BB&T

provided photographs from several of the ATM surveillance cameras during the times of the

fraudulent transactions and I observed two males conducting the ATM transactions. The males

appear to be Bersanu and Naboiu.

       25.     On April 11, 2018, information obtained by the FBI revealed that Florin Bersanu

rented a 2017 Toyota Corolla, gray in color, bearing Georgia license plate PPV-8512, from

Enterprise located in Henrico, Virginia. The vehicle was rented for the period of April 11, 2018,

12:02 p.m. through May 11, 2018, 10:00 a.m. On April 11, 2018, at approximately 5:30 p.m., I

observed the above vehicle parked outside 5300 Glenside Drive, Building 18, Henrico, Virginia.

Pursuant to a warrant issued in the Eastern District of Virginia, on or about April 13, 2018, a

tracking device was installed on the Toyota Corolla.

       26.     The tracking device revealed that the vehicle was used on April 13 - 14, 2018, to

travel to, among other places, Ceredo, West Virginia, Hurricane, West Virginia and Dunbar, West

Virginia. Based on the information from the tracking device, it appeared that the vehicle departed

from 5300 Glenside Drive, Henrico, Virginia, at approximately April 13, 2018, at 11:12 p.m. and

arrived at United Bank's Ceredo branch, located at 555 C Street, Ceredo, West Virginia, at

approximately 4:33 a.m. The ATM camera was obstructed by the individual at the ATM,however

photographs from another surveillance camera showed a male, who appeared to be Naboiu, at the

ATM machine at approximately 4:33 a.m.

       27.    On or about April 14,2018,between 5:47 a.m. and 6:00 a.m.,information from the

tracking device indicated that the vehicle was in the vicinity of United Bank's Dunbar branch,

located at 1200 Grosscup Avenue, Dunbar, West Virginia. The ATM camera was obstructed by

the individual at the ATM and no other surveillance cameras were available.
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       28.     On or about April 14,2018, between 6:14 a.m. and 6:33 a.m., information from the

tracking device indicated that the vehicle was in the vicinity of United Bank's Hurricane branch,

located at 274 SR 34, Hurricane, West Virginia. Photographs from the ATM surveillance camera

revealed a male that appeared to be Naboiu.

       29.     On or About April 14, 2018, between 6:45 a.m. and 6:49 a.m., information from

the tracking device indicated that the vehicle was in the vicinity of United Bank's Dunbar branch.

The ATM camera was obstructed by the individual at the ATM and no other surveillance cameras

were available.


       30.     Information provided by the tracking device indicated that the vehicle arrived back

at 5300 Glenside Drive, Henrico, Virginia, on or about April 14, 2018, at 11:18 a.m.

       31.     On or about April 15, 2018, FBI special agents from the Pittsburgh Division were

requested to check the ATMs located at United Bank's Ceredo, Hurricane and Dunbar branches.

Shortly thereafter, skimming devices were recovered from the ATMs at the Hurricane and Dunbar

branches. Bank investigators provided the ATM logs for the Hurricane and Dunbar ATMs,which

indicated that approximately 60 cards were captured from the Hurricane ATM and 28 cards were

captured from the Dunbar ATM.

       32.     On or about April 15,2018,information from the tracking device indicated that the

vehicle departed 5300 Glenside Drive, Henrico, Virginia, at approximately April 15, 2018, at

12:57 p.m. and headed west towards West Virginia. At approximately 5:47 p.m.,information from

the tracking device indicated that the vehicle was in the vicinity of United Bank's Dunbar branch,

and at approximately 6:12 p.m. the vehicle was in the vicinity of United Bank's Hurricane branch.

The vehicle then headed east and returned to the Henrico, Virginia, area at approximately 11:05

p.m.
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       33.     Based on my discussion with fraud investigators at both multiple financial

institutions, investigators believe that these same subjects are involved in multiple ATM skimmer

thefts that have resulted in the theft of at least 100 credit and debit card numbers {i.e., "access

devices")in the Richmond metro area, approximately 60 access devices from two BB&T banks in

Newport News,approximately 87 access devices from United Banks in West Virginia, 235 access

devices from Pen Air Federal Credit Union in Pensacola, Florida, and 226 access devices from

Eglin Federal Credit Union in Mary Esther, Florida. BB&T investigators flirther suspect these

same subjects are involved in multiple incidents in Maryland. Investigators base this conclusion

on review ofATM surveillance photos as well as similarities in the exploits used to steal the access

device numbers.


       B.      Aggravated Identity Theft


               a.      FLORIN BERSANU also known as"KIM OLSEN"


       34.     Based on my review of evidence obtained from BB&T fraud investigators, I have

determined that on March 3, 2018, at the BB&T Bank branch located at 5001 Lakeside Ave,

Richmond, Virginia, FLORIN BERSANU made two illegal ATM withdrawals using

compromised access devices, which are "means of identification" as that term is defined under 18

U.S.C. 1028(d)(7), along with the associated PIN ("Personal Identification Number"), which is

also a "means of identification," for each access device. The first transaction was in the amount

of$200 using an unauthorized access device, account number ending in 0797, which belonged to

a victim identified herein as B.R.S. who is a resident of Richmond, Virginia. The second

transaction was in the amount of $100 using an unauthorized access device, account number

ending in 8103, which belonged to a victim identified herein as U.G.S. who is a resident of

Richmond, Virginia.
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Card Number:
Card Name: B|
Client Address:                                    Richmond, VA 23229
Skimmed from: BB&T-3214 Skipwith Rd,Richmond, VA at 2018-02-28 15:48
Card Used: BB&T-5001 Lakeside Ave, Richmond, VA at 2018-03-03 17:39:05
Transaction Amount: $200.00

Digital Video Snapshot
Stte; Virginia/Richnfiond- Lakeside Office 8363-2020410
Camera Name: Int. ATM
3/3/2018 5:39:09 PM (Eastern Standard Time)




Capture Size:704 x 480 pixete
Device Network Name: MNAR1433V346
Device Serial Number AR1433V346
Device Station ID: N338363




                                                           10
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Card Number:
Card Name:
Client Address:~^^^^^|||||^|^^^|^B|,Richmond, VA 23228
Skimmed from: BB&T-3214 Skipwith Rd,Richmond, VA at 2018-02-28 16:32
Card Used: BB&T-5001 Lakeside Ave,Richmond, VA at 2018-03-03 18:01:52
Transaction Amount: $100.00

Piqitel Video Snapshot
Site: Virginia/Richmond- Lakeside Office 8363- 2020410
Camera Name: Int. ATM
3/3/2018 6:01:54 PM (Eastern Standard Time)




Capture Size:704 x 480 pixels
Device Network Name: MNAR1433V346
Device Serial Number.AR1433V346
Device Station ID: N338363



                   b.        VIOREL NABOIU.also known as"LUIGILATORZA


         35.       Based on my review of evidence obtained from BB&T fraud investigators, I have

determined that on March 3, 2018, at the BB&T Bank branch located at 5001 Lakeside Ave,




                                                         11
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Richmond, Virginia, FLORIN BERSANU made two illegal ATM withdrawals using

compromised access devices, which are "means ofidentification" as that term is defined xmder 18

U.S.C. 1028(d)(7), along with the associated PIN ("Personal Identification Number"), which is

also a "means of identification," for each access device. The first transaction was in the amount

of$260 using an unauthorized access device, account number ending in 9756, which belonged to

a victim identified herein as A.D.A. who is a resident of Glen Allen, Virginia. The second

transaction was in the amount of $200 using an unauthorized access device, account number

ending in 9678, which belonged to a victim identified herein as J.C.V.M. who is a resident of

Richmond, Virginia.




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Card Number:
Card Name:
Client Address:~^^^|^^^^||B9                           Allen, VA 23060
Skimmed from: BB&T-3214 Skipwith Rd,Richmond, VA at 2018-02-28 07:08
Card Used: BB&T-5001 Lakeside Ave, Richmond, VA at 2018-03-03 18:38:37
Transaction Amount: $260.00
Diqital Video Snapshot
Site; WgintayRichmond- Lakeside Office 8363- 2020410
Camera Name:Int ATM
3/3/2018 6:38:43 PM (Eastern Standard Time)




Capture Size:704 x 480 pixels
Device Networic Name: MNAR1433V346
Device Serial Numt>er AR1433V346
Device Station D: N338363




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Card Number:
Card Name:
Client Address7~H^^^H^^mi|,Richmond, VA 23228
Skimmed from: BB&T-3214 Skipwith Rd,Richmond, VA at 2018-02-28 15:30
Card Used: BB&T-6201 River Road,Richmond, VA at 2018-03-03 17:45:42
Transaction Amount: $200.00

Digital Video Snapshot
Site: Wginia/Richmond- River Road 3239- 2020408
Camera Name: InLATM
3/3/2018 5:45:49 PM pastern Standard Time)




Capture Size:704 x 480 pixels
Device Network Name: MNAR1424V026
Device Serial Number AR1424V026
Device Station D:BB3239


                                                  CONCLUSION


         37.       Based on the information detailed above, I respectfully submit there is probable

cause to charge FLORIN BERSANU and VIOREL NABOIU with Conspiracy to Commit Bank




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Fraud, in violation of 18 U.S.C. § 1344, and Aggravated Identity Theft, in violation of 18 U.S.C.

§ 1028A.




                                                       Respectfully Submitted,




                                                       ^^^my A. D'Errico
                                                       Special Agent
                                                       Federal Bureau ofInvestigation




SUBSCRIBED and SWORN before me this I day of May 2018.




                                         /S/
                              David J. Novak
                              United States Magistrafe Judge




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